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 1   Reichel & Plesser, LLP
     Steven Plesser, SBN #161615
 2
     455 Capitol Mall, Ste. 802
 3   Sacramento, CA 95814
     (916) 498-9258
 4
     steve@reichellaw.com
 5
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                      Case No.: 16-CR-0199 GEB
10
11
           vs.                                     STIPULATION AND ORDER
12                                                 CONTINUING THE STATUS
13                                                 CONFERNCE SET FOR JULY 20, 2018
     KIONI M. DOGAN, et al.                        TO SEPTEMBER 21, 2018
14
15
16
17
18         IT IS HEREBY STIPULATED by and between the defendants, Kioni Dogan,

19   Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel,
20
     and the United States of America, by and through its counsel, Christopher Hales,
21
22   Assistant United States Attorney, that the status conference currently set for July 20,

23   2018 should be continued until September 21, and to exclude time between July 20, 2018
24
     and September 21, 2018, under Local Code T4.
25
26         The parties agree and stipulate, and request that the Court find the following:
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28
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 1    1. The government has provided discovery associated with this case, which is
 2
         voluminous - i.e. approximately 14,000 pages, plus media materials, to
 3
         defense counsel.
 4
 5    2. Given the volume of discovery, defense counsel for defendants require
 6
         additional time to review the discovery in this matter, to consult with their
 7
 8       respective clients and to conduct any necessary investigation and research

 9       related to the charges, and to otherwise prepare for trial.
10
11    3. Counsel for defendants believes that failure to grant the above-requested

12       continuance would deny counsel the reasonable time necessary for effective
13
         preparation, taking into account the exercise of due diligence.
14
15    4. The government is unopposed to the requested continuance.
16
      5. Based on the above-stated findings, the ends of justice served by continuing
17
18       the case as requested outweigh the interest of the public and the defendant
19       in a trial within the original date prescribed by the Speedy Trial Act.
20
21    6. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

22       3161, et seq., within which trial must commence, the time period of July
23
         20, 2018, to September 21, 2018, inclusive, is deemed excludable pursuant
24
         to 18 U.S.C. section 3161(h)(7)(A), B(iv)[Local Code T4] because it results
25
26       from a continuance granted by the Court at counsel’s request on the basis of
27
         the Court’s finding that the ends of justice served by taking such action
28
         outweigh the interest of the
                                   - 2public
                                       -     and the defendant in a speedy trial.
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 1            7. Nothing in this stipulation and order shall preclude a finding that other
 2
                  provisions of the Speedy Trial Act dictate that additional time periods are
 3
                  excludable from the period within which a trial must commence.
 4
 5         IT IS SO STIPULATED.              Respectfully submitted,
 6
 7
     Dated: July 18, 2018                    /s/ Steven B. Plesser
 8                                           STEVEN B. PLESSER
 9                                           Attorney for Gloria Harris
10   Dated: July 18, 2018                    /s/ Steven B. Plesser for:
11                                           For CHRISTOPHER HALES
                                             Assistant U.S. Attorney
12                                           Attorney for the United States
13
     Dated: July 18, 2018                    /s/ Steven B. Plesser
14                                           For Hayes Gable III
15                                           Attorney for Kioni Dogan

16   Dated: July 18, 2018                    /s/ Steven B. Plesser
17                                           For ROBERT WILSON
                                             Attorney for Lavonda Bailey
18
19
20                              FINDINGS And ORDER
21
22
23
           IT IS SO FOUND AND ORDERED.
24
25         Dated: July 19, 2018
26
27
28
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